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 So Ordered.

 Signed this 16 day of March, 2017.



                                                              _______________________________
                                                                   Robert E. Littlefield, Jr.
                                                                   United States Bankruptcy Judge

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
__________________________________________
In re: Mariann Decocinis
                                                                                      Case No. 16-10973-1-rel
                                                                                      Chapter ___
                                                                                              13
                        Debtor(s).
__________________________________________

              ORDER TERMINATING LOSS MITIGATION AND FINAL REPORT

Name of Creditor: __________________________________________________________
                  Rushmore Loan Management Services LLC

Property Address: __________________________________________________________
                  11 Creek View Court, Ballston Spa, NY 12020

Last Four Digits of Account Number of Loan: ____________________________________
                                             3107

Filing Date of Loss Mitigation Request: __/__/__
                                        08 08 16

Date of Entry of Loss Mitigation Order: __/__/__
                                        08 26 16

Other Requests for Loss Mitigation in this Case: Yes _____                                ✔
                                                                                      No _____

           The use of the Court’s Loss Mitigation Program Procedures has resulted in the following

[please check appropriate box below]:

□          Creditor granted a loan modification

□          Debtor 1 rejected Creditor’s offer of a loan modification

□          Creditor and Debtor were unable to reach an agreement


1
    In joint cases, use of the term “Debtor” shall be read as referring to both Debtors.


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          Debtor surrendered the real property

□         Creditor agreed to a short sale

□         Loss Mitigation was terminated due to Debtor’s voluntary dismissal of the case

□         Loss Mitigation was terminated because the case was involuntarily dismissed

✔
□         Other - Loss Mitigation was terminated for the following

           As of 1/26/17, debtor's counsel advised that debtor would submit a new package for
reason(s):______________________________________________________________________

______________________________________________________________________________
review. the 2/6/17 status hearing the Court gave debtor until 2/10/17 to submit a complete new

 package. No documents received despite multiple follow-ups. Order submitted per Court instruction.
______________________________________________________________________________

          NOW, based upon the foregoing, it is hereby

          ORDERED, that Loss Mitigation is terminated with respect to the Loan identified above

by the last four digits of the account number.

                                                        ###




(LM:12 Order Terminating & Final Rpt. 03-15-2016)
